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                             UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OKLAHOMA



State of Oklahoma, et al.
                                              Plaintiff,

vs.                                                          Case Number:
                                                             05-cv-329-GKF-SH
Tyson Foods, Inc., et al.
                                           Defendants.




                              WITNESS LIST FOR EVIDENTIARY HEARING


 SUBMITTED BY ATTORNEY: Jennifer Lewis, Deputy Attorney General

 PARTY REPRESENTED: State of Oklahoma, et al.

  No              Name (Do NOT Include Addresses)           Date/Time of Testimony (To Be Completed By Clerk)


      1     Edward Fite                                    12/3/24: 9:06 am – 12:04 pm; 1:02 – 2:12 pm
      2     Tim Knight                                     12/3/24: 2:16 – 2:47 pm
      3     Julie Chambers                                 12/3/24: 3:04 – 5:01 pm
      4     Lance Phillips                                 12/4/24: 9:28 – 10:53 am
      5     Shanon Phillips                                12/4/24: 11:08 am – 12:03 pm; 1:08 – 4:47 pm
                                                           12/5/24: 9:10 – 9:52 am
      6     Gregory Scott                                  12/5/24: 9:53 – 11:41 am
      7     Lynnette Jordan                                12/5/24: 12:43 – 2:59 pm
      8     Katie Mendoza




Submit to Courtroom Deputy (Do NOT File)

                                                                              Witness List for Trial/Hearing CV-15A (6/2014)
